
USCA1 Opinion

	




          April 14, 1994        [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-2158                                           COLLEEN FRAZIER, ET AL.,                               Plaintiffs, Appellants,                                          v.               COMMISSIONER, MAINE DEPT. OF HEALTH AND HUMAN SERVICES,                                Defendants, Appellees.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                              FOR THE DISTRICT OF MAINE                       [Hon. Gene Carter, U.S. District Judge]                                          ___________________                                 ___________________                                        Before                                 Breyer, Chief Judge,                                         ___________                          Boudin and Stahl, Circuit Judges.                                            ______________                                 ___________________               Thomas H. Kelly, on brief for appellant.               _______________               Michael  E.   Carpenter,  Attorney  General,   and  Mary  B.               _______________________                             ________          Najarian, Assistant Attorney General, on brief for appellee.          ________                                  __________________                                  __________________                 Per Curiam.  Appellants, a class of Aid to Families with                 __________            Dependent  Children recipients,  appeal the  district court's            reduction of  their request for attorneys'  fees, pursuant to            42 U.S.C.    1988.  We  reverse the award  and remand to  the            district court for further  proceedings consistent with  this            opinion.                                          I                 Appellants brought a class action suit against appellee,            Commissioner of  the Maine Department of  Human Services [the            Commissioner],  seeking  declaratory  and  injunctive  relief            pursuant to  42 U.S.C.   651  et seq., 42 U.S.C.    1983, and                                          __ ___            the  fifth and  fourteenth  amendments to  the United  States            Constitution.     Appellants  alleged  that the  Commissioner            violated  her statutory and/or  constitutional obligations in            various  situations where  the  Commissioner collected  child            support owed  by  a  noncustodial parent  to  more  than  one            family.  They alleged in particular that the Commissioner (1)            had no policies or procedures to ensure that amounts of child            support  paid by  a  noncustodial parent  were equitably  and            proportionately   divided   between    families   when    the            Commissioner received  less than the total  amount of support            due; (2) had  no policies  or procedures to  insure that  the            child support orders were  not inequitable in arbitrarily and            capriciously awarding disproportionate  amounts to  different            families;  and (3)  had failed  to follow  federally mandated                                         -2-            child support review and  modification procedures.  The first            two issues were  settled by consent decrees, entered  into by            the parties in  May 1992 and March 1993.   The consent decree            also provided  that the  final  claim would  be dismissed  by            appellants without prejudice.                 After approval of the  consent decree, appellants sought            attorneys'  fees of $12,210.91 pursuant  to 42 U.S.C.   1988.            The  district  court found  that appellants  were "prevailing            parties" but  reduced the amount  of the award  to $3,620.00.            The  only issue on appeal is the reasonableness of the amount            awarded.                                            II                 Although the district  court possesses broad  discretion            in fee  setting matters,  see, e.g.,  Segal v.  Gilbert Color                                      ___  ___    _____     _____________            Systems, Inc., 746  F.2d 78,  86 (1st Cir.  1984), the  court            ____________            must "make  concrete  findings and  explain  its  reasoning,"            Weinberger v. Great Northern Nekoosa Corp., 925 F.2d 518, 527            __________    ___________________________            (1st Cir. 1991)  (citing cases).   This court  has long  held            that,  unless an alternative method is required by law, it is            best  to calculate  attorneys' fees  based  on the  number of            hours reasonably  expended multiplied by a  reasonable hourly            rate.  Id.; see also Hensley  v. Eckerhart, 461 U.S. 424, 436                   __   ___ ____ _______     _________            (1983) (approving this method for awards pursuant to   1988).            Once the court has ascertained the "lodestar" amount,  it may            adjust this figure  as appropriate.   Segal 746  F.2d at  87.                                                  _____                                         -3-            This  approach  is recommended  both  because  it limits  the            danger of arbitrariness in  fee setting, Weinberger, 925 F.2d                                                     __________            at  526, and because it allows for "meaningful review" of the            award by an appellate court, Furtado v. Bishop, 635 F.2d 915,                                         _______    ______            920 (1st Cir. 1980).                 In  the instant case, the district court did not use the            "lodestar" approach.  Instead, the court found that $3,620.00                 represents    reasonable   compensation    to   the                 Plaintiffs'  counsel  in  this  case,  taking  into                 account, on  balance, the difficulty  of the issues                 contested, the significance of the  result obtained                 in the  settlement of  the case,  and the  level of                 professional  diligence  and experience  brought to                 the  task  of  representing  Plaintiffs'  interests                 herein by their counsel.            The court made  no findings  as to the  reasonable number  of            hours  expended on the case or the reasonable hourly rate for            counsel.                  Appellee asserts that the court was not required to use            the  lodestar  approach  in   this  case  because  appellants            achieved only de  minimis success on their  claims.  Appellee                          __  _______            calls attention  to the  Supreme  Court ruling  in Farrar  v.                                                               ______            Hobby, 113  S.Ct. 566  (1992), which  stated that  "'the most            _____            critical factor'  in determining the reasonableness  of a fee            award  'is the degree of  the success obtained,'"  id. at 574                                                               __                                         -4-            (quoting Hensley, 461 U.S.  at 436), and that, in  some cases                     _______            where  a plaintiff  has  obtained only  minimal success,  the            court may award low fees  without "multiplying 'the number of            hours  reasonably expended  .  .  .  by a  reasonably  hourly            rate,'" id. at 575 (quoting Hensley, 461 U.S. at 433).                      __                  _______                 We do not find the reasoning in Farrar applicable in the                                                 ______            instant  case.   Farrar  was a  damage  action in  which  the                             ______            indisputably de minimis success of plaintiff was evidenced by                         __ _______            his having been awarded only $1 of the $17 million in damages            he sought.  See id.  The instant case,  on the other hand, is                        ___ __            an  action for injunctive and declaratory relief in which the            degree of success is not obvious, not discussed in any detail            by the district court, and very much disputed by the parties.            Moreover,  the district  court  has not  made  clear how  the            degree of  success affected its  overall fee assessment.   In            these circumstances, we think  it necessary that the district            court first  calculate the  lodestar amount, and  then, after            determining  appellants'  degree  of  success,  see  Culebras                                                            ___  ________            Enterprises Corp. v. Rivera-Rios, 846 F.2d  94, 102 (1st Cir.            ________________     ___________            1988) (district court in best position to determine degree of            success),  adjust  the  lodestar  amount  in  light  of  that            determination, see,  e.g., id. (no abuse  of discretion where                           ___   ___   __            district court reduced lodestar figure by 50 percent in light            of  plaintiff's lack  of  success on  claim  for damages  and            limited  success on claim for  injunctive relief).  There may                                         -5-            be situations apart  from Farrar  where adequate  explanation                                      ______            for  dispensing with the lodestar might excuse any attempt to            compute  the  lodestar  as  a starting  point;  but  no  such            explanation has been attempted in this case and we think that            it  will be  more efficient  here for  the district  court to            compute the lodestar and then make any adjustments  it thinks            warranted.                   Appellee  also  asserts  that  the  district  court,  in            reducing  appellants' request, did  not abuse  its discretion            because  appellants  did  not  provide  a  proper  basis  for            determining how much  time was spent on their  successful and            unsuccessful claims.   The  failure to particularize time may            in some  cases restrict an appellant's right  to challenge an            award on appeal.   See Nadeau v. Helgemoe, 581  F.2d 275, 279                               ___ ______    ________            (1st Cir. 1978) (court will not view with sympathy claim that            court awarded unreasonably low  fees where plaintiff was only            partially  successful and  records do  not provide  basis for            distinguishing time spent on particular claims).  However, in            this  case, appellants  did provide  the district  court with            detailed specific documentation of  how their time was spent.            Moreover, appellants' claims arguably involved a "common core            of facts" and  were "based on  related legal theories"  which            made  the  division  of  time  on  a  claim  to  claim  basis            difficult.    See  Hensley,  461 U.S.  at  435.    In such  a                          ___  _______            situation, a  reasonable fee  "may  include compensation  for                                         -6-            legal  work  performed on  the  unsuccessful  claims."   Id.;                                                                     __            Garrity v.  Sununu, 752 F.2d 727,  734 (1st Cir.  1984).  The            _______     ______            determination  of  whether  or  not  appellants'  claims were            "interrelated" is again best made by the district court.  See                                                                      ___            Lipsett v. Blanco, 975 F.2d 934, 941 (1st Cir. 1992).              _______    ______                 For these reasons, we vacate the award and remand to the            district court  for further  proceedings.  In  remanding this            case, we do not suggest that the dollar amount awarded by the            district  court  was  unreasonable.   We  only  require  that            (absent unusual  circumstances and an  explanation) the court            adhere to  the normal lodestar procedures  in calculating the            award.                 The award of attorneys' fees is vacated and remanded.                                                 _______     ________                                         -7-

